






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00499-CR






James Ray Perkins III, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 390TH JUDICIAL DISTRICT

NO. D-1-DC-10-301758, HONORABLE JULIE H. KOCUREK, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N

PER CURIAM

		Appellant's court-appointed counsel has filed a motion to temporarily stay the
proceedings in this appeal so that the district court may consider his motion to withdraw as appointed
counsel and appoint new counsel.  Counsel has attached to this motion a copy of his motion to
withdraw, which counsel represents has been filed with the district court.  Accordingly, we abate this
appeal for thirty days and remand the cause to the district court to consider counsel's motion
to&nbsp;withdraw.  All appellate deadlines will be tolled during the period of abatement.  Any orders
resulting therefrom, including any order appointing new counsel, shall be filed with the clerk of this
Court no later than November 14, 2011.


Before Chief Justice Jones, Justices Pemberton and Henson

Abated

Filed:   October 13, 2011

Do Not Publish


